                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

 In Re:                                             Case No. 16-43021

 Warren J Williams
                                                    Chapter 7

 Debtor(s).                                         Judge Phillip J. Shefferly

ORDER GRANTING AMENDED MOTION FOR ABANDONMENT AS TO PROPERTY
             KNOWN AS 11000 Warner Rd, Concord, MI 49237

          The Court finding that an Amended Motion for Abandonment has been filed by

Specialized Loan Servicing LLC, as servicing agent for The Bank of New York Mellon FKA The

Bank of New York, Successor in Interest to JPMorgan Chase Bank, N.A. as Trustee for

Structured Asset Mortgage Investments II Inc., Bear Stearns ALT-A Trust, Mortgage Pass-

Through Certificates, Series 2005-7 (“Movant”), in the above entitled matter; and the Court

finding that L.B.R. 9013(c)(2) provides for entry of an Order if a response has not been filed

within 14 days after service of the Amended Motion on the parties; and

          The Court finding that no response has been within 14 days, and the Court having noted

that Movant has complied with applicable provisions of L.B.R. 9013 (c) and L.B.R. 4001.1, and

          The Court having determined that failing to Order abandonment against the Chapter 7

Trustee would deny the adequate protection afforded to it on its security interest pursuant to 11

U.S.C. §554;

          IT IS HEREBY ORDERED That the Amended Motion for Abandonment filed by

Movant be, and hereby is, granted; it is further,

          IT IS FURTHER ORDERED That the property located at 11000 Warner Rd, Concord,

MI 49237 is abandoned from the bankruptcy estate.




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       IT IS FURTHER ORDERED that this Order shall remain valid notwithstanding

conversion of this case to any other chapter under the Bankruptcy Code.

       IT IS FURTHER ORDERED that this Court shall retain jurisdiction over all matters

relating to enforcement of this order.




Signed on February 27, 2019




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